                    IN THE SUPREME COURT OF NORTH CAROLINA

                                       2021-NCSC-82

                                        No. 307PA20

                                    Filed 13 August 2021

     MARISA MUCHA

                  v.
     LOGAN WAGNER


           On discretionary review pursuant to N.C.G.S. § 7A-31 and on appeal of right

     of a substantial constitutional question pursuant to N.C.G.S. § 7A-30(1) of a

     unanimous decision of the Court of Appeals, 271 N.C. App. 636 (2020), affirming

     orders entered on 13 June 2018 and 27 June 2018 by Judge Debra S. Sasser in District

     Court, Wake County.


           Robinson, Bradshaw &amp; Hinson, P.A., by Erik R. Zimmerman, Andrew R.
           Wagner, and Jazzmin M. Romero, for plaintiff-appellee.

           Parrott Law, PLLC, by Robert J. Parrott Jr., for defendant-appellant.


           EARLS, Justice.

¶1         Before the advent of mobile telephone technology and before call forwarding

     was available, a person making a telephone call would know the approximate

     physical location of anyone who answered the phone based on the area code and prefix

     of the telephone number they dialed. However, the number of landlines is rapidly

     dwindling, and a person’s phone number alone no longer provides a reliable indication
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     of that person’s location.1 As a result, it is important to determine whether, and under

     what circumstances, a telephone call to a cell phone can subject the caller to personal

     jurisdiction in the state where the phone happens to be when it is answered.

¶2         Specifically, in this case, we examine whether the District Court, Wake

     County, could exercise personal jurisdiction over the defendant, Logan Wagner, in a

     proceeding initiated by the plaintiff, Marisa Mucha, who was seeking to obtain a

     domestic violence protection order (DVPO). The only contact Wagner had with North

     Carolina was a series of phone calls he made to Mucha’s cell phone on the day she

     moved to the State. We conclude that Wagner did not have the requisite minimum

     contacts with North Carolina because he did not purposefully avail himself of the

     benefits and protections of North Carolina’s laws. Therefore, we hold that the trial

     court could not exercise personal jurisdiction over Wagner consistent with the Due

     Process Clause of the Fourteenth Amendment to the Constitution of the United

     States. We reverse the decision of the Court of Appeals which affirmed the trial

     court’s decision to exercise jurisdiction, and we vacate the trial court’s order for lack

     of personal jurisdiction over Wagner.




           1 According to the National Center for Health Statistics, “[t]he second 6 months of

     2016 was the first time that a majority of American homes had only wireless telephones.”
     Stephen J. Blumberg &amp; Julian V. Luke, Wireless Substitution: Early Release of Estimates
     From the National Health Interview Survey, July-December 2016, U.S. Department of Health
     and Human Services Centers for Disease Control and Prevention (May 2017).
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                                 I.   Factual Background

¶3         Wagner and Mucha were previously in a romantic relationship for some time.

     After the relationship ended, Mucha—who was attending college in South Carolina—

     told Wagner—who lived in Connecticut—never to contact her again. Wagner did not

     abide by Mucha’s request. While Mucha was living in South Carolina, Wagner sent

     her a letter and a text message. His unwelcome efforts to reach Mucha culminated on

     15 May 2018. That afternoon, unbeknownst to Wagner, Mucha moved from South

     Carolina to North Carolina after finishing her college semester. That evening, Mucha

     received twenty-eight phone calls from an unknown number. When she answered one

     of the calls, Wagner identified himself, and Mucha hung up. Wagner kept calling.

     Mucha picked up again and told Wagner to stop. Wagner left a voice message. When

     Mucha listened to the message, she suffered a panic attack. The next day, she filed a

     pro se complaint and motion for a DVPO in District Court, Wake County.

¶4         Wagner’s attorney entered a limited appearance for the purposes of contesting

     the trial court’s personal jurisdiction and filed a motion to dismiss. According to

     Wagner, the Due Process Clause of the Fourteenth Amendment forbade the trial

     court from exercising personal jurisdiction over him because he neither “affirmatively

     direct[ed] any phone calls [to] North Carolina” nor “purposefully avail[ed] himself of
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     any protections of the State.”2 Wagner contended that because he did not know or

     have any reason to know Mucha would be located in North Carolina when he called

     her, he lacked “fair warning that he might be required to defend himself there.”

¶5          The trial court denied Wagner’s motion to dismiss and, after a hearing during

     which Mucha and two witnesses testified, entered a DVPO. Wagner appealed solely

     the trial court’s order finding personal jurisdiction. The Court of Appeals

     unanimously affirmed. According to the Court of Appeals, because Wagner “knew

     that [Mucha’s] semester of college had ended and she may no longer be residing [in

     South Carolina] . . . his conduct—purposefully directed at Mucha—was sufficient for

     him to reasonably anticipate being haled into court wherever Mucha resided when

     she received the calls.” Mucha v. Wagner, 271 N.C. App. 636, 637–38 (2020).

                            II.   Personal Jurisdiction Analysis

¶6          The reason Wagner’s phone calls to Mucha brought him into contact with

     North Carolina is because Mucha had traveled here, just hours before Wagner made

     the calls to her cell phone. Although Wagner may have known or had reason to know

     that Mucha would be leaving South Carolina at the end of her semester, there is

     nothing in the record to support the inference that Wagner knew or had any reason



            2 Wagner failed to preserve his challenge to the trial court’s jurisdiction as exceeding

     the scope of North Carolina’s long-arm statute, N.C.G.S. § 1-75.4, which he attempted to raise
     for the first time on appeal. Therefore, we assume for purposes of resolving this case that the
     trial court’s exercise of personal jurisdiction was authorized by the long-arm statute.
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     to know that Mucha was present in North Carolina.3 Both the trial court and the

     Court of Appeals ignored this distinction. In doing so, the courts below failed to

     adhere to the fundamental due-process principle that there is no personal jurisdiction

     over a defendant who has not initiated “certain minimum contacts with [the forum

     state].” Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945).

¶7          In examining a defendant’s connection to the forum state, the Due Process

     Clause “requires a forum-by-forum, or sovereign-by-sovereign, analysis.” J. McIntyre

     Mach., Ltd. v. Nicastro, 564 U.S. 873, 884 (2011). Here, Wagner’s only connection

     with the State of North Carolina resulted from “random, isolated, or fortuitous”

     events. Keeton v. Hustler Mag., Inc., 465 U.S. 770, 774 (1984). Under these

     circumstances, the Due Process Clause does not permit a North Carolina court to

     exercise personal jurisdiction over Wagner.

     A. Personal jurisdiction under the Due Process Clause

¶8          “The Fourteenth Amendment's Due Process Clause limits a state court's power

     to exercise jurisdiction over a defendant.” Ford Motor Co. v. Mont. Eighth Jud. Dist.

     Ct., 141 S. Ct. 1017, 1024 (2021). “The primary concern of the Due Process Clause as

     it relates to a court’s jurisdiction over a nonresident defendant is the protection of ‘an


            3 Mucha’s argument to the contrary is that Wagner “had reason to know that Mucha

     had recently moved” because she was a college student, “[s]pring semesters at college
     typically end by mid-May[,] . . . [a]nd many college students move to other states during the
     summer.” At most, this supports the inference that Wagner should have known Mucha might
     not be located in South Carolina, but it does not support the inference that Mucha had reason
     to know where specifically Mucha had travelled.
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     individual’s liberty interest in not being subject to the binding judgments of a forum

     with which he has established no meaningful contacts, ties, or relations.’ ” Beem USA

     Ltd.-Liab. Ltd. P'ship v. Grax Consulting LLC, 373 N.C. 297, 302 (2020) (cleaned up)

     (quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462, 471–72 (1985)).

¶9          In order for a state court to exercise jurisdiction over a defendant who is not

     subject to general jurisdiction in the forum state4 and who is not present in the forum

     state, the defendant must “have certain minimum contacts with [the forum state]

     such that the maintenance of the suit does not offend traditional notions of fair play

     and substantial justice.” Int’l Shoe Co., 326 U.S. at 316 (quoting Milliken v. Meyer,

     311 U.S. 457, 463 (1940)). Although this canonical formulation has been tested over

     the years, the United States Supreme Court has continued to emphasize that the due

     process inquiry is “focused on the nature and extent of ‘the defendant’s relationship

     to the forum State.’ ” Ford Motor Co., 141 S. Ct. at 1024 (emphasis added) (quoting

     Bristol-Myers Squibb Co. v. Super. Ct. of California, San Francisco Cnty., 137 S. Ct.

     1773, 1779 (2017)). Courts must not “improperly attribute a plaintiff's forum

     connections to the defendant and make those connections decisive in the



            4 There is no disputing that Wagner is not subject to general jurisdiction in North

     Carolina because his “affiliations with the State are [not] so ‘continuous and systematic’ as
     to render [him] essentially at home in the forum State.” Goodyear Dunlop Tires Operations,
     S.A. v. Brown, 564 U.S. 915, 919 (2011) (quoting Int’l Shoe, 326 U.S. at 317). Instead, we
     consider only whether Wagner is subject to specific jurisdiction, because the proceeding at
     issue “aris[es] out of or relate[s] to the defendant's contacts with the forum.” Helicopteros
     Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 415 (1984).
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       jurisdictional analysis.” Walden v. Fiore, 571 U.S. 277, 289 (2014) (quoting Rush v.

       Savchuk, 444 U.S. 230, 332 (1980)).

¶ 10         To ascertain whether a defendant’s contacts are of the frequency and kind

       necessary to surpass the “minimum contacts” threshold, courts must first examine

       whether the defendant has taken “some act by which [he or she] purposefully avails

       [himself or herself] of the privilege of conducting activities within the forum State.”

       Hanson v. Denckla, 357 U.S. 255, 253 (1958). To establish that a defendant has

       purposefully availed himself or herself of the benefits and protections of the laws of a

       forum state, the plaintiff has the burden of proving that the defendant “deliberately

       ‘reached out beyond’ its home—by, for example, ‘exploit[ing] a market’ in the forum

       State or entering a contractual relationship centered there.” Ford Motor Co., 141 S.

       Ct. at 1025 (second alteration in original) (quoting Walden, 571 U.S. at 285). The

       focus on the defendant’s conduct reflects one of the core concerns underpinning

       personal jurisdiction doctrine and the Due Process Clause, “treating defendants

       fairly.” Id. at 1025. Due process requires “that individuals have fair warning that a

       particular activity may subject them to the jurisdiction of a foreign sovereign,” so that

       they may “structure their primary conduct with some minimum assurance as to

       where that conduct will and will not render them liable to suit.” Burger King Corp.,

       471 U.S. at 472 (cleaned up) (first quoting Shaffer v. Heitner, 433 U.S. 186, 218 (1977);

       then quoting World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 297 (1980)).
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¶ 11         Under the “purposeful availment” test, the absence of any evidence suggesting

       Wagner had any reason to know Mucha was in North Carolina at the time he called

       her is dispositive. In prior cases where this Court has found a defendant’s one-time

       contacts sufficient to create specific personal jurisdiction in North Carolina, the

       defendant knew or reasonably should have known that by undertaking some action,

       the defendant was establishing a connection with the State of North Carolina. This

       awareness—whether actual or imputed—is what permits a court in North Carolina

       to exercise judicial authority over the nonresident defendant.

¶ 12         For example, in Tom Togs, Inc. v. Ben Elias Indus. Corp., the defendant was a

       clothing distributor with its principal place of business in New York who entered into

       a contract to purchase clothes from a North Carolina manufacturer. 318 N.C. 361,

       362–63 (1986). When a dispute regarding the contract arose, the plaintiff sued the

       defendant in a North Carolina court, and the defendant moved to dismiss for lack of

       personal jurisdiction, which the trial court denied. Id. at 364. On appeal, this Court

       concluded that the defendant had purposefully availed itself of the benefits and

       protections of the laws of North Carolina when it entered into the contract with the

       clothing manufacturer. Id. at 367. Yet it was not the existence of the defendant’s

       contract with a North Carolina resident which alone sufficed to “establish the

       necessary minimum contacts with this State.” Id. at 367. It was the fact that the

       defendant had “made an offer to [a] plaintiff whom defendant knew to be located in
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       North Carolina.” Id. (emphasis added). Because the defendant “was told that the

       shirts would be cut in North Carolina, and defendant also agreed to send its personal

       labels to plaintiff in North Carolina for plaintiff to attach to the shirts[, d]efendant

       was thus aware that the contract was going to be substantially performed in this

       State.” Id.
¶ 13         Similarly, in Beem, we held that it was permissible for a North Carolina court

       to exercise personal jurisdiction over a nonresident corporate defendant because the

       defendant’s “sole representative came to North Carolina to open a bank account on

       behalf [of] the partnership that [it] subsequently used for [ ] business activities [with

       the plaintiff], and he also traveled to this state on three separate occasions to discuss

       [business].” Beem USA Ltd.-Liab. Ltd. P’ship, 373 N.C. at 306. Thus, in both Tom

       Togs and Beem, it was fair to exercise personal jurisdiction over the defendant

       because there was evidence indicating the defendant knew (or should have known)

       that conduct directed at the plaintiff was conduct directed at the State of North

       Carolina.

¶ 14         The significance of a defendant’s awareness of the connection between the

       conduct the defendant chooses to engage in and the forum state is also reflected in

       United States Supreme Court precedent. The Due Process Clause requires evidence

       indicating that a defendant was on notice he or she could be subjected to suit in the

       specific state in which the plaintiff seeks redress, not merely in any state besides the
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       one in which the defendant is domiciled. For example, in Keeton, the fact that the

       defendant “produce[d] a national publication aimed at a nationwide audience” did

       not, on its own, necessarily give rise to personal jurisdiction in every state in the

       nation. Keeton v. Hustler Mag., Inc., 465 U.S. at 781. Instead, the New Hampshire

       court seeking to exercise personal jurisdiction over the defendant could do so because

       the defendant had “continuously and deliberately exploited the New Hampshire

       market,” as evidenced by the “substantial number of copies . . . regularly sold and

       distributed” in the state. Id. There was “no unfairness in calling [the defendant] to

       answer for the contents of that publication” in a jurisdiction it had purposefully

       sought to enter into. Id.
¶ 15         The United States Supreme Court’s more recent “stream of commerce”

       decisions also support Wagner’s position. These cases have drawn a distinction

       between conduct targeted at states generally and conduct targeted at the specific

       forum state seeking to exercise jurisdiction over the defendant. Thus, the Court has

       held that a forum state may exercise personal jurisdiction over a defendant who

       “delivers its products into the stream of commerce with the expectation that they will

       be purchased by consumers in the forum State,” World-Wide Volkswagen Corp., 444

       U.S. at 297–98 (emphasis added), but not over a defendant who “directed marketing

       and sales efforts at the United States” without “engag[ing] in conduct purposefully

       directed at [the forum state].” J. McIntyre Mach., Ltd., 564 U.S. 885–86.
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¶ 16         Concurring separately in J. McIntyre, Justice Breyer explained that

       jurisdiction did not arise even when the defendant “kn[ew] or reasonably should

       [have] know[n] that its products [we]re distributed through a nationwide distribution

       system that might lead to those products being sold in any of the fifty states.” Id. at

       891 (Breyer, J., concurring) (cleaned up) (quoting Nicastro v. McIntyre Mach. Am.,

       Ltd., 201 N.J. 48, 76–77 (2010)). Rather, the defendant must have targeted the forum

       state specifically. Finding personal jurisdiction without evidence that the defendant

       intentionally targeted the forum state would “abandon the heretofore accepted

       inquiry of whether, focusing upon the relationship between ‘the defendant, the forum,

       and the litigation,’ it is fair, in light of the defendant’s contacts with that forum, to

       subject the defendant to suit there.” Id. (quoting Shaffer, 433 U.S. at 204).

¶ 17         These cases establish two important principles. First, conduct directed at a

       person is not necessarily the same as conduct directed at a forum state. Second, a

       defendant’s knowledge that a plaintiff could be somewhere other than the state in

       which the plaintiff typically resides is not sufficient to establish personal jurisdiction

       in any state where the plaintiff happens to be. Applying these principles to this case,

       Wagner has not purposefully availed himself of the benefits and protections of the

       laws of North Carolina. While Wagner purposefully directed conduct at Mucha, he

       had no way of knowing that in doing so he was establishing any connection with the

       State of North Carolina. There is no evidence in the record to support the conclusion
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       that he could have “reasonably anticipate[d] being haled into court” in North

       Carolina. World-Wide Volkswagen Corp., 444 U.S. at 297.

¶ 18         In the alternative, Mucha asserts that “purposeful availment” is not the proper

       test for determining personal jurisdiction when the defendant is accused of

       committing an act of domestic violence, which Mucha analogizes to an intentional

       tort. As she correctly notes, many of the cases applying the purposeful availment test

       “involved business-related claims and conduct,” such as those arising from contract

       disputes or allegedly defective products. Mucha argues that instead of the “purposeful

       availment” test, the right standard is “purposeful direction” because Wagner has

       undertaken an intentional course of conduct which violated North Carolina law.

       According to Mucha, the purposeful direction standard differs from the purposeful

       availment test because “the question is not whether an intentional tortfeasor availed

       himself of the forum state’s laws. It is whether he obstructed the forum state’s laws

       by directing his tortious conduct at the forum.”

¶ 19         Even if the “purposeful direction” standard applies—and assuming “purposeful
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       direction” and “purposeful availment” impose distinct requirements5—Mucha still

       cannot prevail. Mucha’s argument, in essence, is that a defendant is subject to

       personal jurisdiction in a state whenever (1) he intentionally engages in conduct, (2)

       which “obstructs” the laws of the forum state, and (3) injures someone in the forum

       state. This proposed test overlooks the requirement that the defendant himself have

       established minimum contacts with the forum state, which necessitates the

       defendant having some reason to know his conduct will bring him into contact with

       the particular forum state, a requirement which is found in numerous cases resolving

       intentional tort claims. See, e.g., Tamburo v. Dworkin, 601 F.3d 693, 706 (7th Cir.

       2010) (holding that there was personal jurisdiction because defendants “specifically

       aimed their tortious conduct at [plaintiff] and his business in Illinois with the

       knowledge that he lived, worked, and would suffer the brunt of the injury there”)

       (cleaned up).

¶ 20          For jurisdiction to vest in a particular forum state under the purposeful

       direction test, the defendant must “expressly aim” his or her conduct at that state.


              5 It is not clear that they do. In Burger King, which involved a tortious interference

       claim, the Court explained that the Due Process Clause’s “ ‘fair warning’ requirement is
       satisfied if the defendant has ‘purposefully directed’ his activities at residents of the forum,
       and the litigation results from alleged injuries that ‘arise out of or relate to’ those activities.”
       Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472–73 (1985) (citations omitted) (first quoting
       Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 774 (1984); then quoting Helicopteros
       Nacionales de Colombia, S.A., 466 U.S. 408, 414 (1984)). The Court then proceeded to analyze
       whether the defendant had maintained the requisite “minimum contacts” with the forum
       state. Id. at 474. This suggests that “purposeful availment” and “purposeful direction” are
       largely interchangeable.
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       Calder v. Jones, 465 U.S. 783, 789 (1984). This requirement demands proof the

       defendant had some reason to foresee which state’s laws would be obstructed and

       where harm would occur when choosing to engage in the conduct purporting to vest

       the forum state’s courts with jurisdiction. See Walden, 571 U.S. at 290 (“[M]ere injury

       to a forum resident is not a sufficient connection to the forum. . . . The proper question

       is not where the plaintiff experienced a particular injury or effect but whether the

       defendant's conduct connects him to the forum in a meaningful way.”); Marten v.

       Godwin, 499 F.3d 290, 297–98 (3d Cir. 2007) (“To establish that the defendant

       expressly aimed his conduct [at the forum state], the plaintiff has to demonstrate the

       defendant knew that the plaintiff would suffer the brunt of the harm caused by the

       tortious conduct in the forum.” (cleaned up) (quoting IMO Indus. v. Kiekert AG, 155

       F.3d 254, 265–66 (3d Cir. 1998)); Dole Food Co. v. Watts, 303 F.3d 1104, 1111 (9th

       Cir. 2002) (interpreting Calder to “require[ ] that the defendant allegedly have (1)

       committed an intentional act, (2) expressly aimed at the forum state, (3) causing harm

       that the defendant knows is likely to be suffered in the forum state.”) (emphasis

       added).

¶ 21         The act of calling a cell phone number registered in one state does not

       automatically vest jurisdiction in any state where the recipient of the call happens to

       be located at the time the call is made. For example, in Long v. Vitkauskas, the

       Mississippi Supreme Court held that a Mississippi trial court lacked personal
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       jurisdiction over a defendant in an alienation of affection action when the only

       evidence establishing a connection between the defendant and the state was “an

       extensive log of telephone calls and text messages between [the defendant] and [a

       Mississippi resident].” 287 So. 3d 171, 174 (Miss. 2019). Even though the defendant

       did not dispute that he had made phone calls to a Mississippi resident who was

       located in Mississippi when she received the calls, the court was found to lack

       jurisdiction because the Mississippi resident had a cellphone number registered in

       Tennessee and there was no other evidence the defendant was aware of her

       Mississippi residency. Id.; see also Hood v. Am. Auto Care, LLC, No. 18-CV-02807-

       PAB-SKC, 2020 WL 1333091, at *4 (D. Colo. Mar. 23, 2020) (holding that a Colorado

       court lacked personal jurisdiction over a telemarketing company who called a

       Colorado resident on a cell phone with a Vermont area code in the absence of

       “evidence that would allow the Court to infer that defendants knew that his Vermont

       phone number was associated with a Colorado resident”).

¶ 22         Finally, Mucha argues that due process permits “a lesser showing of minimum

       contacts than would otherwise be required” to establish personal jurisdiction in a

       business dispute given the State’s significant interest in protecting its residents

       against domestic violence. See Burger King Corp., 471 U.S. at 477. No one disputes

       the magnitude of the State’s interest in enabling its residents to live free from

       harassment, abuse, and violence. To be sure, DVPOs implicate very different
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       governmental interests than the need for orderly resolution of contract disputes.

       Nevertheless, other state courts examining personal jurisdiction claims in the context

       of domestic violence orders have not jettisoned the purposeful availment

       requirement. See Fox v. Fox, 2014 VT 100, ¶ 30, 197 Vt. 466, 106 A.3d 919 (concluding

       that Vermont trial court lacked personal jurisdiction to enter protective order because

       “defendant did not avail himself of any benefits or protections of Vermont's laws, or

       subject himself to the authority of Vermont's courts”); Shah v. Shah, 184 N.J. 125,

       139, 875 A.2d 931, 940 (2005) (concluding that the trial court lacked personal

       jurisdiction over a defendant who “has not ‘purposefully availed’ himself of the laws

       of New Jersey”).

¶ 23         Indeed, under similar circumstances, a Florida intermediate appellate court

       concluded its courts lacked personal jurisdiction to enter a protective order against a

       defendant who sent voice and text messages to the plaintiff’s cellphone while she was

       located in Florida, because the plaintiff had a Maryland number and “there [was]

       nothing in the petition . . . alleging that [the defendant] knew [the plaintiff] was

       present in Florida at the time he left the messages on her cellular phone.” Becker v.

       Johnson, 937 So. 2d 1128, 1131 (Fla. Dist. Ct. App. 2006). While these decisions are

       not binding on this Court, they are instructive as to how other courts have given

       meaning to Due Process Clause protections. We conclude that even taking into

       account the nature of the important governmental interest in preventing domestic
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       violence, minimum contacts are required for personal jurisdiction to vest over a

       nonresident defendant, and there are not sufficient minimum contacts absent proof

       that the defendant purposefully established a connection with the forum state.

¶ 24          Under the Due Process Clause, the “constitutional touchstone” is always

       “whether the defendant purposefully established ‘minimum contacts’ in the forum

       State.” Burger King Corp., 471 U.S. 462 at 474 (emphasis added) (quoting Int’l Shoe

       Co., 326 U.S. at 316). To hold that the magnitude of the State’s interest justifies an

       exercise of personal jurisdiction in the absence of proof the defendant “purposefully

       availed” himself of or “expressly aimed” his conduct towards North Carolina would

       necessarily “offend ‘traditional notions of fair play and substantial justice.’ ” Int’l Shoe

       Co., 326 U.S. at 316 (quoting Milliken, 311 U.S. at 463). It would also open the door

       to the abandonment of due process protections in other settings where the State’s

       interest is also compelling.

¶ 25          Our decision in this case addresses a unique situation characterized by a

       crucial fact: Wagner lacked any reason to know or suspect that Mucha had moved to

       and was present in North Carolina. Further, it also appears from the record that

       neither Mucha nor Wagner had any ties to North Carolina at all prior to Mucha

       moving to the state. In another case, it would likely alter the jurisdictional analysis

       if the defendant had called the plaintiff in North Carolina on a phone number linked

       to a physical address in North Carolina, see, e.g., Hughs ex rel. Praul v. Cole, 572
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       N.W.2d 747, 751 (Minn. Ct. App. 1997) (concluding Minnesota court had personal

       jurisdiction because “[t]he record indicates [the defendant] made repeated telephone

       calls to respondent’s home” in Minnesota while maintaining a relationship with his

       son who lived there), if the defendant had reason to anticipate that the plaintiff would

       travel to or “seek refuge” in North Carolina, Becker, 937 So. 2d at 1131, or if the prior

       relationship between the defendant and the plaintiff began in or significantly

       involved the State of North Carolina.

¶ 26         Having determined that the trial court lacked personal jurisdiction over

       Wagner, we now consider Mucha’s argument that the trial court did not need to have

       personal jurisdiction over Wagner to enter a DVPO against him.

       B. The “status exception” to personal jurisdiction

¶ 27         Mucha next argues that even if Wagner did not establish minimum contacts

       with the State of North Carolina, the trial court could permissibly bind him through

       entry of the DVPO by applying the “status exception” doctrine. As we recently

       explained,

                           The Supreme Court of the United States has long
                    recognized that some cases warrant an exception to the
                    traditional due process requirements. Specifically, the
                    Court has held that ‘cases involving the personal status of
                    the plaintiff, such as divorce actions, could be adjudicated
                    in the plaintiff's home State even though the defendant
                    could not be served within the State.’ Shaffer v. Heitner,
                    433 U.S. 186, 202, 97 S.Ct. 2569, 53 L.Ed.2d 683 (1977)
                    (citing Pennoyer v. Neff, 95 U.S. 714, 733–35, 24 L.Ed. 565                    (1878)). The Court's recognition of the status exception
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                    implies that minimum contacts are not required in status
                    cases because jurisdiction is established by the status of
                    the plaintiff, rather than the location of the defendant.

       In re F.S.T.Y., 374 N.C. 532, 538 (2020). Thus, in In re F.S.T.Y., we concluded that

       the State’s interest in protecting the welfare of children residing in North Carolina,

       combined with the procedural protections afforded to litigants in termination

       proceedings (including the right to appointed counsel), justified allowing a North

       Carolina court to enter an order terminating the parental rights of an out-of-state

       parent of a resident child, even though the parent lacked “minimum contacts” with

       this State. Id. at 541. The Court of Appeals has also recognized the status exception

       in divorce cases. See, e.g., Chamberlin v. Chamberlin, 70 N.C. App. 474, disc. review

       denied, 312 N.C. 621 (1984). According to Mucha, “[b]ecause th[is] case focuses on the

       status of the relationship between the plaintiff and the defendant, as opposed to

       focusing on the defendant alone, the plaintiff’s connection to the forum state is itself

       enough to justify the exercise of jurisdiction as a matter of due process.”

¶ 28         Although some state courts have chosen to recognize the status exception in

       the domestic violence context, see, e.g., Bartsch v. Bartsch, 636 N.W. 2d. 3 (Iowa 2001),

       we decline Mucha’s invitation to do so here for two reasons. First, there is a significant

       conceptual    distinction   between     termination-of-parental-rights     and    divorce

       proceedings on the one hand and a domestic violence proceeding on the other. When

       a trial court terminates an individual’s parental rights or a marriage, the court acts
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       to dissolve an extant legal relationship. An order dissolving an individual’s legal

       identity as a parent or spouse is not itself the source of new rights or duties—it is

       merely “a declaration of status.” Fox, 2014 VT at ¶ 17. By contrast, when a trial court

       enters a DVPO, the court creates a “status” which did not previously exist and then

       invokes that newly-created status to “prohibit[ the defendant] from engaging in

       behavior that would be entirely legal but for the court's order.” Id. at ¶ 19. Mucha

       concedes as much when she asserts that a DVPO “grants the plaintiff a protected

       status vis-à-vis the defendant.” This distinction between dissolving a legal status that

       already exists and creating a new status with new legal consequences is a significant

       one, which explains why a court may find jurisdiction in the absence of minimum

       contacts to accomplish the former but not the latter.

¶ 29         Second, as the Court of Appeals explained in Mannise v. Harrell, “the issuance

       of a [DVPO] implicates substantial rights of [d]efendant[s].” 249 N.C. App. 322, 332
       (2016). When a trial court enters a DVPO, the court may, in addition to prohibiting

       the defendant from engaging in future acts of domestic violence, impose various

       obligations on the defendant, such as requiring the defendant to vacate his or her

       home and granting the complainant possession of any shared residences or personal

       property. N.C.G.S. § 50B-3(a)(2), (5) (2019). The trial court may restrain the

       defendant from exercising his or her constitutional rights, including the right to
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       purchase a firearm, N.C.G.S. § 50B-3(a)(11).6 In addition, “[t]he entry of a North

       Carolina [DVPO] involves both legal and non-legal collateral consequences,” which

       cannot easily be undone. Mannise, 249 N.C. App. at 332.

¶ 30          The fact that a DVPO creates significant legal consequences is, of course, not

       an accident. These consequences are precisely what the General Assembly has

       deemed are necessary to protect victims of domestic violence from further

       harassment, abuse, or worse. But the power and reach of a DVPO also heighten the

       fairness concerns which arise when a trial court chooses to act outside of the typical

       boundaries imposed by the Due Process Clause. For these reasons, we conclude that

       the status exception should not be extended to this case.

¶ 31          Although our decision deprives Mucha of one avenue for obtaining protection

       against further harassment, she is not without a remedy. She may seek a DVPO in

       any court with personal jurisdiction over Wagner, including his home state of

       Connecticut, which if granted would be fully enforceable in North Carolina. See 18

       U.S.C. § 2265(a). In addition, we note that upon receiving notice of Mucha’s filing in

       North Carolina, Wagner became aware Mucha was residing in this State.

       Accordingly, in a subsequent proceeding if the alleged harassment continued, it is

       doubtful Wagner could successfully defeat the trial court’s exercise of personal




              6 Under federal law, it is unlawful for any person subject to a DVPO to purchase or

       possess a firearm. 18 U.S.C. § 922(g)(8).
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       jurisdiction on the same grounds as asserted in the proceedings below.

                                      III.    Conclusion

¶ 32          “[T]raditional notions of fair play and substantial justice” require something

       more than proof that an out-of-state defendant has directed conduct at an individual

       who happened to be located in North Carolina. Int’l Shoe Co., 326 U.S. at 316 (quoting

       Milliken, 311 U.S. at 463). At a minimum, there must be some evidence from which

       the court can infer that in undertaking an act, the defendant purposefully established

       contacts with the State of North Carolina specifically. The question is not, as the

       Court of Appeals framed it, whether Wagner should have reasonably understood the

       risk that Mucha would be located somewhere other than South Carolina when he

       chose to dial her cellphone number. The question is whether Wagner had “followed a

       course of conduct directed at the society or economy existing within” North Carolina,

       such that a North Carolina court “has the power to subject the defendant to judgment

       concerning that conduct.” J. McIntyre Mach., Ltd., 564 U.S. at 884. Because the

       requisite minimum contacts between Wagner and North Carolina are not present in

       this case, we conclude that the Due Process Clause forbids the trial court from

       exercising personal jurisdiction over him to enter a DVPO. Therefore, we reverse the

       Court of Appeals decision in this case and vacate the trial court’s order for lack of

       jurisdiction.

              REVERSED.
